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- SANDRINE CASSIDY |

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SACVL2 252 Ws(PNe>)

CASE NO.
CLASS ACTION
CLASS ACTION COMPLAINT FOR:

SANDRINE CASSIDY, an individual,
on her own behalf and on behalf of all
others similarly situated,

Plaintiff,
Vs.

SUNSHINE MAKERS, INC.; and
DOES 1-10, inclusive,

Defendants.

 

1.

6.

Violations of the Unfair Competition
Law, California Business an
Professions Code Sections 17200 et
seq./Unfair, Unlawful and Deceptive
Business Practices;

Violations of the Unfair Competition
Law, California Business an
Professions Code Section 17500 et
seq./False or Misleading Advertising;

Violations of the Consumers Legal
Remedies Act, California Civil Code
Sections 1750 et seq.;

Breach of Express Warranty;

Violation of the Magnuson-Moss

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Warranty Act, 15 U.S.C. Section 2301,

et Seq.;

Unjust Enrichment;

DEMAND FOR JURY TRIAL

 

 

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Plaintiff Sandrine Cassidy (“Plaintiff”) brings this action against Defendant
Sunshine Makers, Inc., and Does 1 through 10 (collectively, “Defendant”) on behalf
of herself and all others similarly situated, and makes the following allegations upon
information and belief, except as to her own actions, the investigation of her counsel,
and the facts that are a matter of public record:

PRELIMINARY STATEMENT

1. Plaintiff files this class action on behalf of herself and all others similarly
situated to obtain restitution and injunctive relief for the Class, as defined, infra, at
paragraph 39, from Defendant. .

2. Defendant manufactures, markets, and sells cleaning products named
“Simple Green Concentrated All-Purpose Cleaner” (“Simple Green Concentrated”)
and “Simple Green All-Purpose Cleaner Lemon Scent” (“Simple Green Lemon’’)
(collectively, the “Falsely Labeled Cleaners”).

3. Through an extensive and comprehensive nationwide marketing |
campaign, Defendant claims that the F alsely Labeled Cleaners are “non-toxic,”
“biodegradable,” and “non-hazardous,” and packages the Falsely Labeled Cleaners in
spray bottles, implying the Falsely Labeled Cleaners can be used at full strength
directly from the bottle.

4. Further, Defendant’s marketing campaign consistently promulgates the
message that using the Falsely Labeled Cleaners for “general, all-purpose” cleaning
tasks presents no health risks and is even environmentally-friendly.

5. Additionally, Defendant’s marketing campaign consistently states that
Defendant has “spent over $3 million to verify [its] safety claims.”

6. | However, the Falsely Labeled Cleaners contain 2-butoxyethanol, a toxic
solvent that absorbs through the skin and damages red blood cells, and alcohol
ethoxylate surfactants, which are eye and skin irritants that can also be extremely
damaging to aquatic life upon degradation.

7. In addition, even though Defendant sells the Falsely Labeled Cleaners in a

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CLASS ACTION COMPLAINT

 
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ready-to-use spray bottle, Defendant’s website advises customers to dilute the Falsely
Labeled Cleaners with water at a ratio of 1:10 for even the heaviest cleaning tasks
(portrayed in a website video). .

8. Defendant’s representations and omissions are false, misleading, and
reasonably likely to deceive the public.

9.  Defendant’s advertising campaign has been extensive and comprehensive,
and Defendant has spent millions of dollars to convey these deceptive messages to
consumers throughout the United States, including California. Defendant conveyed
and continues to convey its deceptive claims about the Falsely Labeled Cleaners
through a variety of media, in at least two different languages, including point of sale
displays, television, magazines, the Internet and on the Falsely Labeled Cleaners’
packaging.

10. Defendant’s advertising and marketing campaign is designed to cause
consumers to buy the Falsely Labeled Cleaners as a result of the deceptive safety and
environmentally-friendly messages, and Defendant has succeeded. As a result of this
campaign, Defendant has generated substantial sales of the Falsely Labeled Cleaners.

11. Asaresult of the misleading messages conveyed through its marketing
campaign, Defendant has sold cleaning products that do not perform as advertised, and
may cause harm to people who use them and to the environment. Defendant has
enjoyed substantial profits as a result of sales of the Falsely Labeled Cleaners.

12. Plaintiff brings this action on behalf of herself, and other similarly
situated consumers who purchased the Falsely Labeled Cleaners, in order to halt the
dissemination of this false and misleading advertising message, correct the false and
misleading perception Defendant has created in the minds of consumers, and to obtain
redress for those who have purchased the Falsely Labeled Cleaners.

JURISDICTION AND VENUE

13. | The Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332(d)(2), because the proposed class has more than 100 members, the class
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contains at least one member of diverse citizenship from Defendant, and the amount in
controversy exceeds $5 million.

14. The Court has personal jurisdiction over Defendant because Defendant’s
headquarters and principal place of business are in the state of California. Defendant is
authorized to conduct, and conducts, substantial business in California.

15. Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1),
because Defendant resides in this District, a substantial part of the events and
omissions giving rise to this action occurred in this District, and Defendant is
headquartered in this District.

PARTIES

16. _Atall times relevant to this matter, Plaintiff Sandrine Cassidy resided and
continues to reside in Los Angeles, California. During the class period, Plaintiff was
exposed to and saw Defendant’s advertising claims, purchased the Falsely Labeled
Cleaners in reliance on these claims, and suffered injury in fact and lost money as a
result of the unfair competition described herein.

17. Defendant Sunshine Makers, Inc. is incorporated in the State of California
and is headquartered in Huntington Beach, California. Defendant is registered to do
business in the State of California, and does business in the State of California.
Defendant sells the Falsely Labeled Cleaners through wholesale distribution at
numerous retail outlets throughout California.

18. The true names and capacities, whether individual, corporate, associate or
otherwise, of each of the defendants designated as a DOE are unknown to Plaintiff at
this time and therefore Plaintiffs sues defendants by such fictitious names. Plaintiff
will ask leave of the Court to amend this Complaint to show the true names and
capacities of the DOE defendants when that information has been ascertained.
Plaintiff is informed and believes and thereon alleges that each of the defendants
designated herein as a DOE is legally responsible in some manner and liable for the
events and happenings herein alleged and, in such manner, proximately caused harm to

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CLASS ACTION COMPLAINT

 
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Plaintiff as herein further alleged.
SUBSTANTIVE ALLEGATIONS
I. Defendant’s Deceptive Marketing Campaign
19. Defendant designs, manufactures, markets, distributes, and sells the
Falsely Labeled Cleaners.
20. According to Defendant, the Falsely Labeled Cleaners are “non-toxic,”

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“biodegradable,” “environmentally-sensitive,” and “non-hazardous.” These claims are

 

prominently displayed on the products’ labeling, as well as throughout Defendant’s

website:

 

 

CLASS ACTION COMPLAINT

 

 
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21. Defendant further purports that these claims are “verified” by vague

reference to “over $3 million” spent by Defendant. However, Defendant fails to

explain how it “verified” the allegedly non-toxic and environmentally-sustainable
properties of the Falsely Labeled Cleaners.

22. Defendant consistently makes the above described claims through print
ads, signs in stores, point of sale advertising, television advertising, Internet
advertising, including www.simplegreen.com and www.youtube.com,! and
advertisements on internet search engines including Google.

A. _ Defendant’s Non-Toxic, Biodegradable Claims.

23. Through its marketing campaign and product labeling, Defendant claims
that the Falsely Labeled Cleaners are “non-toxic” and “non-hazardous” to humans.
See pages 5-7 above; also available at
http://www.simplegreen.com/products all purpose _cleaner.php;
http://www.simplegreen.com/products. lemon _all_purpose.php.

B. Defendant’s Claim That Its Representations Are Verified.

24. Defendant has bolstered consumer’s confidence in these assertions by
claiming that “the makers of Simple Green have spent over $3 million to verify the
safety claims and unique formulation.” See pages 6-7 above, also available at, e.g.:
http://www.simplegreen.com/products_ all purpose_cleaner.php.

C. Defendant Packages the Falsely Labeled Cleaners In A Ready-To-Use

Spray Bottle. |

25. Defendant packages and sells the Falsely Labeled Cleaners in a ready-for-
use spray bottle container and has a video on its website showing a person spraying the
cleaners directly on the material to be cleaned.

26. Despite the spray bottle packaging, Defendant’s website advises _

 

! Any Internet link cited in this Complaint was last visited on May 9, 2012. .

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CLASS ACTION COMPLAINT

 
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customers to significantly dilute the Falsely Labeled Cleaners for even the heaviest

 

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Simple Green all-purpose. cleaner

is your non-toxic, safer alternative

to toxic household cleaners.

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2 formula as original
Simple Green butwith a fresh

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CLASS ACTION COMPLAINT

 
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 10 of 30 Page ID #:13

27. Furthermore, Defendant fails to prominently display “Concentrated” on
the front labeling of Simple Green Lemon, despite advising customers on its website to
dilute Simple Green Lemon with water by the same ratio Simple Green Concentrated
should be diluted.

28. On the actual product packaging, Defendant’s instructions conflict with
those in provided on its website in the Uses and Dilutions Guide, instead indicating

that heavy cleaning can be at “Full Strength to 1:10”:

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CLASS ACTION COMPLAINT

 

 
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Il. Defendant’s Claims Are False And Misleading.

A. The Falsely Labeled Cleaners Contain Toxic, Non-Biodegradable
Ingredients That Are Hazardous To Human Health And The
Environment.

29. The Falsely Labeled Cleaners contain ingredients that are toxic, non-
biodegradable, hazardous, and damaging to the environment. Defendant’s claims to the
contrary are false and lack scientific or clinical verification, despite Defendant’s claim
that it spent “over $3 million to verify” its safety claims regarding the Falsely Labeled
Cleaners.

30. Pursuant to 16 C.F.R. Section 1500.3 (defining terms relating to
hazardous substances), a consumer product is “toxic” if it “has the capacity to produce
personal injury or illness to man through ingestion, inhalation, or absorption through
any body surface.” 16 C.F.R. § 1500.3(b)(5). A consumer product is “hazardous” if it
contains a “substance or mixture of substances which is toxic, corrosive, an irritant.”
16 C.F.R. § 1500.3(b)(4)()(A).

31. The Federal Trade Commission has issued specific guidance concerning
consumer products that are advertised as “biodegradable” or generally “friendly” or
“sensitive” to the environment. These guidelines indicate that:

a. “Claims of degradability, biodegradability or photodegradability should
be qualified to the extent necessary to avoid consumer deception about:
(1) the product or package's ability to degrade in the environment where it
is customarily disposed; and (2) the rate and extent of degradation.” 16
C.F.R. § 260.7(b).

b. “It is deceptive to misrepresent, directly or by implication, that a
product, package or service offers a general environmental benefit.” 16
C.F.R. § 260.7(a).

32. Contrary to Defendant’s claims (as discussed above), the Falsely Labeled
Cleaners contain at least two ingredients that are known to be toxic and/or non-

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CLASS ACTION COMPLAINT

 
Case, 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 12 of 30 Page ID #:15

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biodegradable, which pose serious health risks to consumers and considerable
detriment to the environment.

33. The Falsely Labeled Cleaners contain 2-butoxyethanol, which is a
carcinogenic solvent. 2-butoxyethanol absorbs through the skin and damages red
blood cells. Moderate exposure to 2-butoxyethanol also causes irritation to the mucous
membranes of the eyes, nose, and throat. Heavier exposures from inhalation,
ingestion, or skin absorption can cause hypotension (extremely low blood pressure),
metabolic acidosis (high levels of acid production in the body), hemolyses (ruptured
red blood cells), pulmonary edema (fluid accumulation in the lungs), organ failure,
coma, and even death. The State of California lists 2-butoxyethanol as a hazardous
substance. See 8 Cal. Code Reg. §339.

34. The Falsely Labeled Cleaners also contain an undefined mixture of
alcohol ethoxylate surfactants. Alcohol ethoxylates can cause irritation to the skin
and eyes in concentrations found in household cleaning products. More controversial
is their biodegradation effects, as some alcohol ethoxylates are toxic to aquatic algae,
fish, and invertebrates. Nonylphenol, a degradation product of certain alcohol
ethoxylates, is toxic to many aquatic organisms. |

35. Defendant discloses that the Falsely Labeled Cleaners’ ingredients include
2-butoxyethanol and ethoxylated alcohol in Material Safety Data Sheets on its website.
See http://www.simplegreen.com/pdfs/MSDS EN-US AllPurposeCleaner.pdf and
http://www.simplegreen.com/pdfs/MSDS_ EN-US LemonAllPurposeCleaner.pdf.

B. The Falsely Labeled Cleaners Should Be Considerably Diluted And

Are Not Safe For Use At Full Strength

36. As indicated in Defendant’s “Uses and Dilutions Guide,” the Falsely
Labeled Cleaners should be diluted with water for even the heaviest cleaning tasks at a
ratio of at least 1:1 (one part cleaner to one part water) and up to 1:10. See page 9; also
available at: http://www.simplegreen.com/pdfs/06_dilutions_consumer.pdf.

37. Defendant has reaped millions of dollars in profits by leading consumers

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CLASS ACTION COMPLAINT

 
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 13 0f 30 Page ID #:16

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to believe that the Falsely Labeled Cleaners are safe, environmentally-friendly, and
ready for use at full strength from the spray bottle. Consumers would not have paid
the prices they did for, or would not have purchased at all, the Falsely Labeled
Cleaners, had they known the truth: that the Falsely Labeled Cleaners contain toxic,
non-biodegradable, hazardous ingredients that can cause serious health problems and
harm the environment.
CLASS ACTION ALLEGATIONS

38. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully herein.

39. Plaintiff seeks relief in her individual capacity and seeks to represent a
class consisting of all others who are similarly situated. Pursuant to Fed. R. Civ. P.
23(a) and (b)(2) and/or (b)(3), Plaintiff seeks certification of a class initially defined as
follows: All persons who purchased the Falsely Labeled Cleaners in the United States
(the “Class”), from May 9, 2008, until the final disposition of this case (the “Class
Period”). Excluded from the Class are Defendant and its subsidiaries and affiliates,
Defendant’s executives, board members, legal counsel, and their immediate families.

40. Plaintiffreserves the right to amend or modify the Class definition with
greater specificity or division into subclasses after she has had an opportunity to
conduct discovery.

41. Numerosity. Fed. R. Civ. P. 23(a)(1). The potential members of the
Class as defined are so numerous that joinder of all members is unfeasible and not
practicable. While the precise number of Class members has not been determined at
this time, Plaintiff is informed and believes that many thousands or millions of
consumers have purchased the Falsely Labeled Cleaners.

42. Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions of
law and fact common to the Class, which predominate over any questions affecting
only individual Class members. These common questions of law and fact include,

without limitation:

 

 

 
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 14 0f 30 Page ID #:17

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a. Whether Defendant falsely and/or misleadingly misrepresented the
Falsely Labeled Cleaners as being “non-toxic”;

b. | Whether Defendant falsely and/or misleadingly the Falsely Labeled
Cleaners as being “biodegradable”;

c. Whether Defendant failed to adequately disclose that the Falsely
Labeled Cleaners require dilution before use;

d. | Whether Defendant’s misrepresentations and omissions are likely

to deceive reasonable consumers;

e. Whether Defendant violated California Business and Professions
Code § 17500, ef seq.;
f. Whether Defendant violated California Business and Professions

Code § 17200, ef seq.;
g. Whether Defendant violated California Civil Code § 1750, et seq.;
h. | Whether Defendant breached its express warranty;
L. Whether Defendant violated the Magnuson-Moss Warranty Act, 15
USS.C. § 2301, et seq.;
j. Whether Defendant was unjustly enriched; and
k. The nature of the relief, including equitable relief, to which
Plaintiff and the Class members are entitled.
43.  Typicality. Fed. R. Civ. P. 23(a)(3). The claims of Plaintiff are typical of
the claims of the Class. Plaintiff and all Class members were exposed to uniform
practices and sustained injury arising out of and caused by Defendant’s unlawful

conduct.
44. Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiff will

 

fairly and adequately represent and protect the interests of the members of the Class.
Plaintiff's Counsel is competent and experienced in litigating class actions.
45. Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class action is

superior to other available methods for the fair and efficient adjudication of this

 

 

 
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 15 of 30 Page ID #:18

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controversy since joinder of all the members of the Class is impracticable.
Furthermore, the adjudication of this controversy through a class action will avoid the
possibility of inconsistent and potentially conflicting adjudication of the claims
asserted herein. There will be no difficulty in the management of this action as a class

action.

46. Injunctive and Declaratory Relief. Fed. R. Civ. P. 23(b)(2). Defendant’s

 

actions regarding the misrepresentations and omissions on the Falsely Labeled
Cleaners are uniform as to members of the Class. Defendant has acted or refused to
act on grounds that apply generally to the Class, so that final injunctive relief or
declaratory relief as requested herein is appropriate respecting the Class as a whole.
FIRST CAUSE OF ACTION
(Violation of Business & Professions Code §17200, et seq./Unfair, Unlawful and
Deceptive Business Practice)

47. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully herein.

48. Plaintiff brings this cause of action on behalf of herself and on behalf of
the Class.

49. Plaintiff has suffered injury in fact and lost money or property as a result
of Defendant’s conduct because she purchased the Falsely Labeled Cleaners.

50. Defendant has engaged in unfair, unlawful, and fraudulent business acts
and practices as set forth above.

51. By engaging in the above-described acts and practices, Defendant has
committed one or more acts of unfair competition within the meaning of the Unfair
Competition Law, Business and Professions Code §17200 et seq., which prohibits any
“unlawful,” “fraudulent” or “unfair” business act or practice and any false or
misleading advertising.

52. Defendant engaged in “unfair” business acts or practices by disseminating

a false and/or misleading marketing campaign as described above. Defendant’s false

 

 

 
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8:12-cv-00757-AG-AN Document1 Filed 05/10/12 Page 16 of 30 Page ID #:19

and/or misleading advertising and non-disclosure harms consumers, and there is no
corresponding benefit to consumers that outweighs this harm.

53. Defendant engaged in “fraudulent” business acts or practices by
disseminating a false and/or misleading marketing campaign as described above.

54. Defendant’s acts and practices have deceived, and/or are likely to deceive,
members of the consuming public.

55. Defendant engaged in “unlawful” acts and practices because its actions as
alleged herein violate, at a minimum, Civil Code §§ 1770(a)(5), 1770(a)(7),
1770(a)(9), and 1770(a)(16) and Business and Professions Code §17500 et seq.

56. Plaintiff relied on Defendant’s misrepresentations.

57. Defendant’s violation of §17200 continues to this day. As a direct and
proximate result of Defendant’s violations, Plaintiff and members of the Class were
injured in fact and lost money or property. Plaintiff has suffered actual damages in
that, inter alia, she paid money to purchase the Falsely Labeled Cleaners, which she
would not have done had Defendant not engaged in the false and misleading
advertising campaign.

58. Plaintiff, on behalf of herself and on behalf of each member of the Class,
seeks restitution, injunctive relief, and other relief allowed under §17200, et seq.

SECOND CAUSE OF ACTION
(Violation of Business & Professions Code § 17500 et seq./False or Misleading
Advertising)

59. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully herein.

60. Plaintiff brings this cause of action on behalf of herself and on behalf of
the Class.

61. Defendant has advertised and marketed to the public and offered for sale
the Falsely Labeled Cleaners on a nationwide basis, and throughout California.

62. Defendant has engaged in the advertising and marketing alleged herein

 

CLASS ACTION COMPLA

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with intent to directly and indirectly induce the purchase of the Falsely Labeled
Cleaners.

63. Defendant’s advertisements, marketing representations, and non-
disclosures are false and/or misleading, and likely to deceive the public and/or have
deceived the public by falsely representing the characteristics of the Falsely Labeled
Cleaners and by failing to disclose the health and environmental safety risks associated
with using the Falsely Labeled Cleaners, as set forth more fully above.

64. In making and disseminating the statements alleged herein, Defendant
knew or should have known that the statements were untrue or misleading, and acted
in violation of the Business and Professions Code § 17500, et seq.

65. Plaintiff and Class members relied on Defendant’s misrepresentations and
omissions.

66. The misrepresentations and non-disclosures by Defendant of the facts
detailed above constitute false and misleading advertising and therefore constitute a
violation of California Business & Professions Code §17500, et seq.

67. Plaintiff based her decision to purchase the Falsely Labeled Cleaners in
substantial part on Defendant’s misrepresentations and omitted material facts.
Defendant has reaped millions of dollars of revenues through the sale of the Falsely
Labeled Cleaners as a result of the false and misleading advertisements, including non-
disclosures. Plaintiff and the Class were injured in fact and lost money or property as a
result of Defendant’s wrongful conduct.

68. Plaintiff, on behalf of herself and the Class, seeks restitution, injunctive
relief and other relief allowable under §17500, et seq.

THIRD CAUSE OF ACTION
(Violation of Consumer Legal Remedies Act — Civil Code § 1750 et seq.)

69. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully herein.

70. Plaintiff brings this claim individually and on behalf of the Class.

 

 

 
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 18 o0f 30 Page ID#:21

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71. This cause of action is brought pursuant to the Consumers Legal
Remedies Act, California Civil Code § 1750, et seq. (the "CLRA") because
Defendant’s actions and conduct described herein constitute transactions that have
resulted in the sale or lease of goods or services to consumers.

72. Plaintiff and each member of the Class are consumers as defined by
California Civil Code §1761(d).

73. The Falsely Labeled Cleaners are goods within the meaning of Civil Code
§1761(a).

74. Defendant violated the CLRA in at least the following respects:

a. in violation of §1770(a)(5), Defendant represented that the Falsely
Labeled Cleaners have approval, characteristics, and uses or
benefits which they do not have;

b. in violation of §1770(a)(7), Defendant represented that the Falsely
Labeled Cleaners are of a particular standard, quality or grade, or
that the Falsely Labeled Cleaners are of a particular style, or model,
when they are of another;

C. in violation of §1770(a)(9), Defendant has advertised the Falsely
Labeled Cleaners with intent not to sell them as advertised; and

d. in violation of §1770(a)(16), Defendant represented that the Falsely
Labeled Cleaners have been supplied in accordance with previous
representations, when they were not.

75. Defendant affirmatively represented to consumers that the Falsely
Labeled Cleaners are (1) “non-toxic,” (2) “biodegradable,” (3) “environmentally-
sensitive,” and (4) “non-hazardous.”

76. Defendant omitted to state that the Falsely Labeled Cleaners contain
toxic, hazardous ingredients and that, despite being packaged in a ready-to-use spray
bottle, the Falsely Labeled Cleaners should be diluted with water at a 1:10 ratio for

even the heaviest cleaning tasks.

 

 

 
| Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 19 of 30 Page ID #:22

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77. This sort of information is relied upon by consumers in making
purchasing decisions, and is fundamental to the decision to purchase cleaning products.

78. Plaintiff relied upon Defendant’s misrepresentations to her detriment.

79. Defendant’s misrepresentations constitute unfair, deceptive, and
misleading business practices in violation of Civil Code §1770(a).

80. Defendant’s deceptive acts and omissions occurred in the course of selling
a consumer product and have occurred continuously through the filing of this
Complaint.

81. On May 10, 2012, Plaintiff notified Defendant in writing by certified mail
of the violations alleged herein and demanded that Defendant remedy those violations.
A copy of the letter Plaintiff sent to Defendant is attached as Exhibit A.

82. If Defendant does not remedy the violations alleged herein by June 9,
2012, Plaintiff will amend this complaint to add claims for actual, punitive, and
statutory damages pursuant to the CLRA.

FOURTH CAUSE OF ACTION
(Breach of Express Warranty)

83. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully herein.

84. Plaintiff brings this claim individually and on behalf of the Class.

85. Plaintiff, and each member of the Class, formed a contract with Defendant
at the time plaintiff and the other members of the Class purchased the Falsely Labeled
Cleaners. The terms of that contract include the promises and affirmations of fact made
by Defendant on the the Falsely Labeled Cleaners’ packaging and through its
marketing campaign, as described above. This product packaging and advertising
constitutes express warranties, became part of the basis of the bargain, and is part of a
standardized contract between Plaintiff and the members of the Class on the one hand,
and Defendant on the other.

86. All conditions precedent to Defendant’s liability under this contract have

 
Case 8:12-cv-00757-AG-AN Document 1 Filéd 05/10/12 Page 20 of 30 Page ID #:23

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been performed by Plaintiff and the Class.

87. Defendant breached the terms of this contract, including the express
warranties, with plaintiff and the Class by not providing the cleaning product which
would provide the benefits described above.

88. As aresult of Defendant's breach of its contract, Plaintiff and the Class
have been damaged in the amount of the purchase price of the Falsely Labeled
Cleaners they purchased.

FIFTH CAUSE OF ACTION
(Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq. for Breach of Express
Warranty)

89. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully herein. This claim is brought by
Plaintiffs on behalf of themselves and the Class solely for breach of federal law.

90. The MMWA, 15 U.S.C. §§ 2301, et seq, creates a private federal cause of
action for breach of “written warranty” as defined by the Act. 15 U.S.C. § 2301(6) and
§ 2310(d)(1).

91. The Falsely Labeled Cleaners are “consumer products” as defined in 15
U.S.C. § 2301(1), as they constitute tangible personal property which is distributed in
commerce and which is normally used for personal, family or household purposes.

92. Plaintiff and members of the Class are “consumers” as defined in 15
U.S.C. § 2301(3), since they are buyers of the Falsely Labeled Cleaners for purposes
other than resale.

93. Defendant engaged in the business of making the Falsely Labeled
Cleaners available, either directly or indirectly, to consumers such as Plaintiff and the
Class. As such, Defendant is a “supplier” as defined in 15 U.S.C. § 2301(4).

94. Through its labeling, Defendant gave and offered a written warranty to

consumers relating to the nature and quality of the ingredients in the Falsely Labeled

 

 

 
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Cleaners. As a result, Defendant is a “warrantor” within the meaning of 15 U.S.C. §
2301(5).

95. Defendant provided a “written warranty” within the meaning of 15 U.S.C.
§ 2301(6) for the Falsely Labeled Cleaners prominently affirming and promising in
writing on the labeling of the Falsely Labeled Cleaners that the Falsely Labeled
Cleaners were “non-toxic” and “biodegradable” as described in this Complaint. These
affirmations of fact regarding the nature and qualities of the Falsely Labeled Cleaners
constituted, and were intended to convey to purchasers, a written promise that the
ingredients in the Falsely Labeled Cleaners labeled “non-toxic” and “biodegradable”
were free of a particular type of defect (i.e., that they were not toxic or
environmentally hazardous). As such, these written promises and affirmations were
part of the basis of Plaintiff's and Class’ bargains with Defendant in purchasing the
Falsely Labeled Cleaners.

96. Defendant breached the written warranty to the Class by failing to provide
and supply cleaning products that were non-toxic and biodegradable. Since the Falsely
Labeled Cleaners did not have the requisite qualities and character promised by
Defendant’s written warranty, the Falsely Labeled Cleaners were therefore not defect
free, and did not comply with Defendant’s obligations under the written warranty to
supply “non-toxic” and “biodegradable” cleaning products to Plaintiff and the Class.

97. Defendant was provided notice and a reasonable opportunity to cure the
defects in the Falsely Labeled Cleaners and remedy the harm to Plaintiff and the Class,
but failed to do so.

98. Plaintiff and members of the Class were injured by Defendant’s failure to
comply with their obligations under the written warranty, since Plaintiff and members
of the Class paid for a product that did not have the promised qualities and nature, did
not receive the non-toxic and biodegradable cleaning products that were promised to
them and that they bargained for, and lost the opportunity to purchase and consume
other, truly non-toxic and biodegradable cleaning products that would provide the type

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CTION COMPLAINT

 
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 22 of 30 Page ID #:25

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of non-toxic and biodegradable cleaning materials promised and warranted by
Defendant but which the Falsely Labeled Cleaners failed to provide or were incapable
of providing. Plaintiff and the Class therefore for this claim seek and are entitled to
recover “damages and other legal and equitable relief” and “costs and expenses
(including attorneys’ fees based upon actual time expended)” as provided in 15 U.S.C.
§ 2310(d).

SIXTH CAUSE OF ACTION

(Unjust Enrichment)

99. Plaintiff incorporates herein by reference each substantive former
paragraph of this complaint as if set forth fully herein.

100. Plaintiff brings this claim individually and on behalf of the Class.

101. Defendant sold the Falsely Labeled Cleaners based on false and
misleading advertising, including failure to disclose material facts, as stated more fully
above.

102. Defendant has been unjustly enriched by collecting the price of the
Falsely Labeled Cleaners, which consumers paid in reliance on Defendant’s false and
misleading advertising.

103. Plaintiff, on behalf of herself and the Class, seeks restitution of the full
price of all of the Falsely Labeled Cleaners purchased by members of the Class.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff, on behalf of herself and Class members, prays for
relief as follows:

A. For an order that this action may be maintained as a class action under
Rule 23 of the Federal Rules of Civil Procedure, that Plaintiff be appointed Class
representative, and that Plaintiffs counsel be appointed as counsel for the Class;

B. For an order requiring Defendant to refund Plaintiff and all Class

members for the Falsely Labeled Cleaners;

 

 

 
‘Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 23 of 30 Page ID #:26

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C. For an order prohibiting Defendant from engaging in the misconduct
described herein;

D. For an award of attorneys’ fees; . .

E. For an award of the costs of suit incurred herein, including expert

witness fees;

F, For an award of interest, including prejudgment interest, at the legal
rate; and
G. For such other and further relief as this Court deems just and proper.
DEMAND FOR JURY TRIAL

 

Plaintiff hereby demands trial by jury of all claims so triable.

Dated: May 10, 2012 AHDOOT & WOLFSON, PC

ea

Tina Wolfson %
Attorneys for Plaintiff, Sandrine Cassidy

 

 

 

 
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 24 of 30 Page ID #:27

Exhibit A
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 25 of 30 Page ID #:28

 

AHDOOT & WOLFSON, PC

ATTORNEYS

May 10, 2012

VIA CERTIFIED US MAIL
RETURN RECEIPT REQUESTED

CEO Bruce P. FaBrizio

Sunshine Makers, Inc.

15922 Pacific Coast Highway
Huntington Beach, California 92649

Re: Sandrine Cassidy v. Sunshine Makers, Inc.

California Consumer Legal Remedies Act Demand
Civil Code Section 1782

Dear Mr. FaBrizio:

Please be advised that this firm represents Sandrine Cassidy on behalf of herself and all.
others similarly situated in an action against Sunshine Makers, Inc. (“Defendant”). This notice is
being sent to you pursuant to California Civil Code Section 1782(a)(2).

Our client seeks to maintain a class action on behalf of all consumers nationwide who
purchased Defendant’s “Simple Green Concentrated All-Purpose Cleaner” and /or “Simple
Green All-Purpose Cleaner Lemon Scent” (hereinafter, the “Falsely Labeled Cleaners”). Our
client alleges through this action that the Falsely Labeled Cleaners have been and continue to be
marketed with the claim that they are “non-toxic” and/or “biodegradable,” and that the Falsely
Labeled Cleaners are packaged in spray bottles despite requiring dilution.

It is alleged that these representations were and are false, and that Defendant knew or
should have known at the time it made these representations that they were false. Despite the
facts above, Defendant continues to make false and misleading representations in its advertising
and packaging of the Falsely Labeled Cleaners.

These practices constitute violations of California Civil Code Section 1770 in at least the
following respects: ,

10850 WILSHIRE BLVD., STE. 370, LOS ANGELES, CA 90024, T: (310) 474-9111, F: (310) 474-8585, FE: TWOLFSON@AHDOOTWOLFSON.COM
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 26 of 30 Page ID #:29

Sunshine Makers, Inc.

CEO Bruce FaBrizio

California Civil Code §1782 Demand
May 10, 2012

Page 2

(a) in violation of Section 1770(a)(5), Defendant represented that the Falsely Labeled
Cleaners have characteristics and benefits that they do not have;

(b) —_ in violation of Section 1770(a)(7), Defendant represented that its goods are of a
particular standard, quality, or grade, or that its goods are of a particular style or model, when
they are of another;

(c) in violation of Section 1770(a)(9), Defendant has advertised the Falsely Labeled
Cleaners with the intent not to sell these goods as advertised; and

(d) in violation of Section 1770(a)(16), Defendant has represented that the Falsely
Labeled Cleaners were supplied in accordance with previous representations, when in fact they
were was not.

In light of the foregoing, and pursuant to Civil Code Section 1782(a)(2), it is hereby
demanded on behalf of Ms. Cassidy, and all others similarly situated nationwide, that Defendant
immediately correct, repair, replace, and otherwise rectify the violations of Civil Code Section
1770, through the following actions: that Defendant cease and desist in making representations
regarding the Falsely Labeled Cleaners that are not in fact true, that Defendant engage ina
corrective advertising campaign which will alert the public to its misconceptions about the
Falsely Labeled Cleaners, and that Defendant refund the purchase price paid for the Falsely
Labeled Cleaners, plus interest, costs and fees, to all purchasers of the Falsely Labeled Cleaners.

Our client’s complaint will include claims for injunctive relief, actual damages, punitive
damages, and all other damages permitted under the California Consumer Legal Remedies Act
unless appropriate correction, repair, replacement, refund, or other remedy is given, or agreed to
be given within thirty (30) days after receipt of this notice pursuant to Civil Code Section
1782(b).

Sincerely,
AHDOOT & WOLFSON, PC

Lo Gn —

By: Tina Wolfson,

10850 WILSHIRE BLVD., STE. 370, LOS ANGELES, CA 90024, T: (310) 474-911, F: (310) 474-8585, E: TWOLFSON@AHDOOTWOLFSON.COM
. Case 8:12-cv-O8/AED- NGS DIDGAaMEOUAT, Eled0a/HMtRiIcPAGeE AMG Page ID #:30

CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself (1)
SANDRINE CASSIDY, an individual, on her own behalf and

on behalf of all others similarly situated

DEFENDANTS
SUNSHINE MAKERS, INC.; and DOES 1-10, inclusive

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing

yourself, provide same.)

Tina Wolfson, csb#174806 / Robert Ahdoot, csb# 172098
AHDOOT & WOLFSON, PC, 10850 Wilshire Blvd. #70 LA CA 90024

T: 310-474-9111; F: 310-474-8585

Attorneys (If Known)

 

Il. BASIS OF JURISDICTION (Place an X in one box only.)

O10U.S. Government Plaintiff

2 U.S. Government Defendant

3 Federal Question (U.S.
Government Not a Party)

4 Diversity (Indicate Citizenship
of Parties in Item IE)

 

 

Citizen of This State

Citizen of Another State

1

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Citizen or Subject of a Foreign Country 013

IIL. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF

DEF PTF DEF

O1 Incorporated or Principal Place 04 4
of Business in this State

{12 Incorporated and Principal Place 15 015
of Business in Another State

03 Foreign Nation O6 O6

 

TV. ORIGIN (Place an X in one box only.)

1 Original
Proceeding

State Court

{32 Removed from O13 Remanded from 14 Reinstated or
Appellate Court

Reopened

{15 Transferred from another district (specify):

O6 Multi- O17 Appeal to District
District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURYDEMAND: @Yes 0 No (Check ‘Yes’ only if demanded in complaint.)
MONEY DEMANDED IN COMPLAINT: $ To Be Determined

CLASS ACTION under F.R.CP. 23: W¥es ONo

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
California's Unfair Competition Law and Consumer Legal Remedies Act, Breach of Express Warranty, Magnuson-Moss Warranty Act, Unjust Enrichment
VII. NATURE OF SUIT (Place an X in one box only.)

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR
(1400 State Reapportionment {1110 Insurance PERSONAL INJURY PERSONAL PETITIONS (3710 Fair Labor Standards
(2410 Antitrust 0 120 Marine (1310 Airplane PROPERTY 510 Motions to Act
(1430 Banks and Banking (1130 Mifler Act (1315 Airplane Product [370 Other Fraud Vacate Sentence {11720 Labor/Mgmt.
(450 Commerce/ICC (140 Negotiable Instrament Liability 371 Truth in Lending Habeas Corpus Relations
Rates/etc. [1150 Recovery of [1320 Assault, Libel & [4380 Other Personal [1530 General (1730 Labor/Mgmt.
0460 Deportation Overpayment & Slander Property Damage {11535 Death Penalty Reporting &
(1470 Racketeer Influenced Enforcement of £1330 Fed. Employers’ [ry 395 Property Damage |C1 540 Mandamus/ Disclosure Act
and Corrupt Judgment Liability Product Liability Other 0740 Railway Labor Act
Organizations 0151 Medicare Act oaas wanne Prod : BANKRUPTCY :.-]£1550 Civil Rights 0790 Other Labor
480 Consumer Credit [3152 Recovery of Defaulted Liability roduct [1422 Appeal 28 USC. |(1555 Prison Condition Litigation
01490 Cable/Sat TV Student Loan (Excl. : 158 FORFEITURE / 1791 Empl. Ret. Inc.
(810 Selective Service Veterans) Tee ee venel — Ie 423. Withdrawal 28 PENALTY Security Act
[850 Securities/Commodities/|1 153 Recovery of Product Liability USC 157 0610 Agriculture PROPERTY RIGHTS
Exchange Overpayment of (1360 Other Personal CIVIL RIGHTS (1620 Other Food & 01820 Copyrights
(875 Customer Challenge 12 Veteran’s Benefits Injury O441 Voting Drug 830 Patent
USC 3410 (2160 Stockholders’ Suits (1362 PersonalInjury- ]41442 Employment £1625 Drug Related (1840 Trademark
890 Other Statutory Actions [0 190 Other Contract Med Malpractice [1443 Housing/Acco- Seizure of SOCIAL SECURITY
(1891 Agricultural Act (1195 Contract Product (1365 Personal Injury- mmodations Property 21 USC {0 861 HIA (1395ff)
(1892 Economic Stabilization Liability Product Liability [10444 Welfare 881 0 862 Black Lung (923)
Act 1196 Franchise £1368 Asbestos Personal {£1445 American with |€1630 Liquor Laws 0 863 DIWC/DIWW
( 893 Environmental Matters REAL PROPERTY Injury Product Disabilities - 0640 RR. & Truck (405(g))
[1894 Energy Allocation Act |[7210 Land Condemnation Liability Employment 0650 Airline Regs 01864 SSID Title XVI
(1895 Freedom ofInfo. Act {£1220 Foreclosure IMMIGRATION (1446 American with |[1660 Occupational (1865 RSI (405(g))
(1900 Appeal of Fee Determi- J[1 230 Rent Lease & Ejectment [1462 Naturalization Disabilities - Safety /Health FEDERAL TAX SUITS:
nation Under Equal (1240 Torts to Land Application Other £1690 Other (1870 Taxes (US. Plaintiff
Access to Justice (1245 Tort Product Liability |(1463 Habeas Corpus- |r) 440 Other Civil or Defendant)
(1950 Constitutionality of [1290 All Other Real Property Alien Detainee Rights (1871 IRS-Third Party 26
State Statutes 01465 ner Immigration USC 7609
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CB ress aan feet aan ces
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FOR OFFICE USE ONLY: Case Number: . Rs :
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.
CV-71 (05/08) CIVIL COVER SHEET Page | of 2
Case 8:12-cVIOMEB-SGTANDISTRICMEOURT, ENCORAD/ DR HICPOGE AFPORAPA Page ID #:31

CIVIL COVER SHEET

VII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? No 0 Yes
If yes, list case number(s):

 

ViiI(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? [] No Yes
Ifyes, list case number(s): Case No. SACV10-00427 AG (ANx) (has been dismissed)

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (WA. Arise from the same or closely related transactions, happenings, or events; or
WB. Call for determination of the same or substantially related or similar questions of law and fact; or
LIC. For other reasons would entail substantial duplication of labor if heard by different judges; or
COD, Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present,

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
C]__Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* Califomia County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles County

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
()__ Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Orange County

 

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles County

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land, involved

i .
X. SIGNATURE OF ATTORNEY (OR PRO PER): ~ Lf otha. Date 3] { of (2

 

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code = Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969,
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 29 of 30 Page ID #:32

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge James V. Selna and the assigned
discovery Magistrate Judge is Robert N. Block.

The case number on all documents filed with the Court should read as follows:

SACV12- 757 JVS (RNBx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions. ,

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division [X] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 8:12-cv-00757-AG-AN Document 1 Filed 05/10/12 Page 30 of 30 Page ID #:33

Tina Wolfson, SBN 174806

Robert Ahdoot, SBN 172098
AHDOOT & WOLFSON, PC

10850 Wilshire Boulevard, Suite 370
Los Angeles, California 90024

Tel: 310-474-9111; Fax: 310-474-8585

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SANDRINE CASSIDY, an individual, on her own CASE NUMBER
behalf and on behalf of all other similarly situated,

PLAINTIFF(S)

 

Oe

Vv.

SUNSHINE MAKERS, INC., and DOES 1-10,

inclusive,
SUMMONS

 

DEFENDANT(S).

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 21 _ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached % complaint O amended complaint
C) counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’s attorney, Ahdoot & Wolfson, PC - Tina Wolfson _, whose address is
10850 Wilshire Boulevard, Suite 370, Los Angeles, Califomia 90024 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

 

Clerk, U.S, District Court
MAY 10 202 JULIE PRADO

Dated: By:

 

Deputy Clerk

(Seal of the Court)

 

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)).

 

CV-O1A (10/1 SUMMONS
